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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:05CR387
                                              )
              v.                              )
                                              )
DARTAVIAN DE SHAWN WATSON,                    )         MEMORANDUM AND ORDER
BILLY DEE SPENCER, and JUAN                   )
ANTONIO GARCIA,                               )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court on the government’s objections (Filing Nos. 51 and

55) to the report and recommendation (hereinafter, “R&R”) of the United States Magistrate

Judge (“magistrate”) (Filing No. 48), recommending that the defendants’ motions to

suppress evidence, statements and physical evidence (Filing Nos. 25, 27, and 29) be

granted.

       Under 28 U.S.C. § 636(b)(1)(C), the court makes a de novo determination of those

portions of the report and recommendation to which the parties object. United States v.

Lothridge, 324 F. 3d 599, 600-01 (8th Cir. 2003). The court has conducted a de novo

review of the record pursuant to 28 U.S.C. § 636(b)(1)(A), including the transcript of the

hearing on the motion (“Hr’g Tr.”) and a videotaped recording of the traffic stop at issue.

See Filing No. 37, Ex. 3.

                                        BACKGROUND

       The facts are adequately set forth in the R&R and need not be fully repeated here.

The court agrees with the magistrate’s recitation of the evidence presented at the hearing.

Briefly, the defendants were stopped and the vehicle was searched by law enforcement
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officers who were conducting a “ruse checkpoint” that involved the posting of notices on

an interstate highway of an upcoming drug checkpoint. State Trooper Greg Goltz testified

that the goal of the ruse was to observe motorists who took the exit after reading the signs

and to stop those who committed an illegal act or traffic violation. Hr’g Tr. at 10-11.

Defendants were observed traveling on the highway that intersects Interstate 80 at the exit

that follows the posted signs. Id. at 18.

       Trooper Goltz testified that he stopped the vehicle because it had pulled into the

driveway of an unoccupied farmhouse that state troopers had been asked to patrol. Id. at

19-20. It is undisputed that there was no traffic violation. Significantly, there was no

evidence that defendants’ vehicle had exited the Interstate.            Also, there were no

inconsistencies in the defendants’ separate statements to Trooper Goltz. In addition,

Trooper Goltz testified that if the driver had not consented to the search, he would have

detained the defendants for a further investigation using a drug dog. Id. at 54.

       After a hearing, the magistrate found that law enforcement officers had a reasonable

and articulable suspicion to justify a brief investigative detention, but that they did not have

probable cause to expand the scope of the initial stop. Filing No. 48, R&R at 11. The

magistrate further found that the government had not met its burden of showing that the

defendant’s subsequent consent to search was freely and voluntarily given, so as to

eliminate the “taint” of the earlier illegal detention. Id. The magistrate’s conclusion was

based in part on Trooper Goltz’s admission that he was acting on a “hunch” in stopping the

defendants and his further testimony that he had not seen the vehicle exit the Interstate

highway at the point of the “ruse” checkpoint.



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       The court agrees with the magistrate’s legal analysis and conclusions and finds that

the R&R should be adopted. The court adds that although similar ruse checkpoints have

been approved as a law enforcement tool, the requirement of individualized suspicion of

criminal activity has not been relaxed in such situations. Compare United States v. Yousif,

308 F.3d 820, 829 (8th Cir. 2002) (finding a drug interdiction checkpoint an unconstitutional

violation of Fourth Amendment rights), with United States v. Williams, 359 F.3d 1019, 1021

(8th Cir. 2004); United States v. Martinez, 358 F.3d 1005, 1008-09 (8th Cir. 2004)

(approving stops for traffic violations in connection with a ruse similar to that herein).

Encounters such as that involved in this case are approved only if probable cause exists.

Williams, 359 F.3d at 1019. Although exiting a highway in response to a ruse checkpoint

warning may be suspicious, “the suspicion engendered is insufficient for Fourth

Amendment purposes,” and “probable cause, the sine qua non of which is individualized

suspicion” must be present to justify a subsequent search or seizure. See id. The court

further agrees that the government has not sustained its burden to show that defendant

Watson’s subsequent consent was freely and voluntarily given.              See id. at 831.

Accordingly,

       IT IS ORDERED that:

       1.      The report and recommendation of the magistrate (Filing No. 48) is adopted;

       2.      Defendant Dartavian Watson’s motion to suppress evidence (Filing No. 25)

               is granted;

       3.      Defendant Billy Dee Spencer’s motion to suppress arrest, statement and

               physical evidence (Filing No. 27) is granted; and



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    4.    Defendant Juan Antonio Garcia’s motion to suppress (Filing No. 29) is

          granted.

          DATED this 17th day of May, 2006.

                                   BY THE COURT:



                                   s/ Joseph F. Bataillon
                                   JOSEPH F. BATAILLON
                                   United States District Judge




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